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Attorneys for the Trustee
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UNITED STATES BANKRUPTCY COURT                                     RETURN DATE: 11/22/21
EASTERN DISTRICT OF NEW YORK                                       TIME: 9:30 a.m.
-----------------------------------------------------------X
In re:

JON MCLANE FINOCCHIO and                                           Chapter 7
MARIA FINOCCHIO,                                                   Case No. 21-71261-reg

                                    Debtors.
-----------------------------------------------------------X
       NOTICE OF TRUSTEE’S APPLICATION FOR THE ENTRY OF AN ORDER
                        AUTHORIZING THE TRUSTEE TO ENTER INTO
                     PROPOSED SETTLEMENT PURSUANT TO RULE 9019
                 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

        PLEASE TAKE NOTICE that Allan B. Mendelsohn, trustee (the “Trustee”) of the estate

of Jon McLane Finocchio and Maria Finocchio, the debtors (the “Debtors”), by and through his

attorneys, The Kantrow Law Group, PLLC, shall move before the Hon. Robert E. Grossman,

United States Bankruptcy Judge, on NOVEMBER 22, 2021 at 9:30 a.m. or as soon thereafter as

counsel may be heard, for the entry of an Order pursuant to Rule 9019 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) approving a certain stipulation (the “Stipulation”)

entered into by and between the Trustee and the Debtors at the United States Bankruptcy Court,

290 Federal Plaza, Central Islip, New York 11722 in Courtroom 860 pursuant to and consistent

with the COVID-19 National Emergency Procedures as set forth on the Court’s website.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the application, must be

in writing and must be served upon the Trustee’s counsel, The Kantrow Law Group, PLLC, 6901

Jericho Turnpike, Suite 230, Syosset, New York 11791 to the attention of Fred S. Kantrow, Esq.;

and the Office of the United States Trustee, 560 Federal Plaza, Central Islip, New York 11722 to

the attention of Stan Y. Yang, Esq; with a hard copy directed to the Court; and must conform to
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the Federal Rules of Bankruptcy Procedure and the Local Rules of the Bankruptcy Court, as

modified by any administrative orders entered in this case, and be filed with the Bankruptcy Court

electronically in accordance with the Administrative Orders of this Court, be registered users of

the Bankruptcy Court’s electronic case filing system and, by all other parties in interest by the

appropriate electronic delivery method by not later than November 15, 2021.

       PLEASE TAKE FURTHER NOTICE that only timely objections may be considered by

the Court.

Dated: Syosset, New York
       November 1, 2021
                                             The Kantrow Law Group, PLLC
                                             Attorneys for Allan B. Mendelsohn

                                     BY:     S/Fred S. Kantrow
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